
Justice Alito
delivered the opinion of the Court.
The Fourth Amendment protects the right, to be free from “unreasonable searches and seizures,” but it is silent about how this right is to be enforced. To supplement the bare text, this Court created the exclusionary rule, a deterrent *232sanction that bars the prosecution from introducing evidence obtained by way of a Fourth Amendment violation. The question here is whether to apply this sanction when the police conduct a search in compliance with binding precedent that is later overruled. Because suppression would do nothing to deter police misconduct in these circumstances, and because it would come at a high cost to both the truth and the public safety, we hold that searches conducted in objectively reasonable reliance on binding appellate precedent are not subject to the exclusionary rule.
&gt; — Í
The question presented arises in this case as a result of a shift in our Fourth Amendment jurisprudence on searches of automobiles incident to arrests of recent occupants.
A
Under this Court’s decision in Chimel v. California, 395 U. S. 752 (1969), a police officer who makes a lawful arrest may conduct a warrantless search of the arrestee’s person and the area “within his immediate control.” Id., at 763 (internal quotation marks omitted). This rule “may be stated clearly enough,” but in the early going after Chimel it proved difficult to apply, particularly in cases that involved searches “inside [of] automobile[s] after the arrestees [we]re no longer in [them].” See New York v. Belton, 453 U. S. 454, 458-459 (1981). A number of courts upheld the constitutionality of vehicle searches that were “substantially contemporaneous” with occupants’ arrests.1 Other courts disapproved of automobile searches incident to arrests, at least absent some continuing threat that the arrestee might gain access to the vehicle and “destroy evidence or grab a *233weapon.”2 In New York v. Belton, this Court granted cer-tiorari to resolve the conflict. See id., at 459-460.
In Belton, a police officer conducting a traffic stop lawfully-arrested four occupants of a vehicle and ordered the arrest-ees to line up, unhandcuffed, along the side of the thruway. Id., at 456; see Brief for Petitioner in New York v. Belton, O. T. 1980, No. 80-328, p. 3. The officer then searched the vehicle’s passenger compartment and found cocaine inside a jacket that lay on the backseat. Belton, 453 U. S., at 456. This Court upheld the search as reasonable incident to the occupants’ arrests. In an opinion that repeatedly stressed the need for a “straightforward,” “workable rule” to guide police conduct, the Court announced “that when a policeman has made a lawful custodial arrest of the occupant of an automobile, he may, as a contemporaneous incident of that arrest, search the passenger compartment of that automobile.” Id., at 459-460 (footnote omitted).
For years, Belton was widely -understood to have set down a simple, bright-line rule. Numerous courts read the decision to authorize automobile searches incident to arrests of recent occupants, regardless of whether the arrestee in any particular ease was within reaching distance of the vehicle at the time of the search. See Thornton v. United States, 541 U. S. 615, 628 (2004) (Scalia, J., concurring in judgment) (collecting cases). Even after the arrestee had stepped out of the vehicle and had been subdued by police, the prevailing understanding was that Belton still authorized a substantially contemporaneous search of the automobile’s passenger compartment.3
*234Not every court, however, agreed with this reading of Bel-ton. In State v. Gant, 216 Ariz. 1, 162 P. 3d 640 (2007), the Arizona Supreme Court considered an automobile search conducted after the vehicle’s occupant had been arrested, handcuffed, and locked in a patrol car. The court distinguished Belton as a case in which “four unsecured” arrestees "presented an immediate risk of loss of evidence and an obvious threat to [a] lone officer’s safety.” 216 Ariz., at 4, 162 P. 3d, at 643. The court held that where no such “exigencies exis[t]” — where the arrestee has been subdued and the scene secured — the rule of Belton does not apply. 216 Ariz., at 4, 162 P. 3d, at 643.
This Court granted certiorari in Gant, see 552 U. S. 1230 (2008), and affirmed in a 5-to-4 decision. Arizona v. Gant, 556 U. S. 332 (2009). Four of the Justices in the majority agreed with the Arizona Supreme Court that Belton's holding applies only where “the arrestee is unsecured and within reaching distance of the passenger compartment at the time of the search.” 556 U. S., at 343. The four dissenting Justices, by contrast, understood Belton to have explicitly adopted the simple, bright-line rule stated in the Belton Court’s opinion. 556 ü. S., at 357-358 (opinion of Alito, J.); see Belton, supra, at 460 (“[W]e hold that when a policeman has made a lawful custodial arrest of the occupant of an automobile, he may, as a contemporaneous incident of that arrest, search the passenger compartment of that automobile” (footnote omitted)). To limit Belton to cases involving unsecured arrestees, the dissenters thought, was to overrule the decision’s clear holding. Gant, supra, at 357-358. Justice Scalia, who provided the fifth vote to affirm in Gant, agreed with the dissenters’ understanding of Belton’s holding. 556 U. S., at 351-352 (concurring opinion). Justice Scalia favored a more explicit and complete overruling of Belton, but he joined what became the majority opinion to avoid “a 4-to-l-to-4” disposition. 556 U. S., at 354. As a result, the Court adopted a new, two-part rule under which an auto*235mobile search incident to a recent occupant’s arrest is constitutional (1) if the arrestee is within reaching distance of the vehicle during the search, or (2) if the police have reason to believe that the vehicle contains “evidence relevant to the crime of arrest.” Id., at 343 (citing Thornton, supra, at 632 (Scalia, J., concurring in judgment); internal quotation marks omitted).
B
The search at issue in this case took place a full two years before this Court announced its new rule in Gant On an April evening in 2007, police officers in Greenville, Alabama, conducted a routine traffic stop that eventually resulted in the arrests of driver Stella Owens (for driving while intoxicated) and passenger Willie Davis (for giving a false name to police). The police handcuffed both Owens and Davis, and they placed the arrestees in the back of separate patrol cars. The police then searched the passenger compartment of Owens’ vehicle and found a revolver inside Davis’ jacket pocket.
Davis was indicted in the Middle District of Alabama on one count of possession of a firearm by a convicted felon. See 18 U. S. C. § 922(g)(1). In his motion to suppress the revolver, Davis acknowledged that the officers’ search fully complied with “existing Eleventh Circuit precedent.” App. 13-15. Like most courts, the Eleventh Circuit had long read Belton to establish a bright-line rule authorizing substantially contemporaneous vehicle searches incident to arrests of recent occupants. See United States v. Gonzalez, 71 F. 3d 819, 822, 824-827 (CA11 1996) (upholding automobile search conducted after the defendant had been “pulled from the vehicle, handcuffed, laid on the ground, and placed under arrest”). Davis recognized that the District Court was obligated to follow this precedent, but he raised a Fourth Amendment challenge to preserve “the issue for review” on appeal. App. 15. The District Court denied the motion, and Davis was convicted on the firearms charge.
*236While Davis’ appeal was pending, this Court decided Gant. The Eleventh Circuit, in the opinion below, applied Ganfs new rule and held that the vehicle search incident to Davis’ arrest “violated [his] Fourth Amendment rights.” 598 F. 3d 1259, 1263 (CA11 2010). As for whether this constitutional violation warranted suppression, the Eleventh Circuit viewed that as a separate issue that turned on “the potential of exclusion to deter wrongful police conduct.” Id., at 1265 (quoting Herring v. United States, 555 U. S. 135, 137 (2009); internal quotation marks omitted). The court concluded that “penalizing the [arresting] officer” for following binding appellate precedent would do nothing to “dete[r]. . . Fourth Amendment violations.” 598 F. 3d, at 1265-1266 (bracketing and internal quotation marks omitted). It therefore declined to apply the exclusionary rule and affirmed Davis’ conviction. We granted certiorari. 562 U. S. 1002 (2010).
II
The Fourth Amendment protects the “right of the people to be secure in their persons, houses, papers, and effects, against unreasonable searches and seizures.” The Amendment says nothing about suppressing evidence obtained in violation of this command. That rule — the exclusionary rule — is a “prudential” doctrine, Pennsylvania Bd. of Probation and Parole v. Scott, 524 U. S. 357, 363 (1998), created by this Court to “compel respect for the constitutional guaranty.” Elkins v. United States, 364 U. S. 206, 217 (1960); see Weeks v. United States, 232 U. S. 383 (1914); Mapp v. Ohio, 367 U. S. 643 (1961). Exclusion is “not a personal constitutional right,” nor is it designed to “redress the injury” occasioned by an unconstitutional search. Stone v. Powell, 428 U. S. 465, 486 (1976); see United States v. Janis, 428 U. S. 433, 454, n. 29 (1976) (exclusionary rule “unsupportable as reparation or compensatory dispensation to the injured criminal” (internal quotation marks omitted)). The rule’s sole purpose, we have repeatedly held, is to deter future Fourth *237Amendment violations. E. g., Herring, supra, at 141, and n. 2; United States v. Leon, 468 U. S. 897, 909, 921, n. 22 (1984); Elkins, supra, at 217 (“calculated to prevent, not to repair”). Our cases have thus limited the rule’s operation to situations in which this purpose is “thought most efficaciously served.” United States v. Calandra, 414 U. S. 338, 348 (1974). Where suppression fails to yield “appreciable deterrence,” exclusion is “clearly . . . unwarranted.” Janis, supra, at 454.
Real deterrent value is a “necessary condition for exclusion,” but it is not “a sufficient” one. Hudson v. Michigan, 547 U. S. 586, 596 (2006). The analysis must also account for the “substantial social costs” generated by the rule. Leon, supra, at 907. Exclusion exacts a heavy toll on both the judicial system and society at large. Stone, 428 U. S., at 490-491. It almost always requires courts to ignore reliable, trustworthy evidence bearing on guilt or innocence. Ibid. And its bottom-line effect, in many cases, is to suppress the truth and set the criminal loose in the community without punishment. See Herring, supra, at 141. Orn-eases hold that society must swallow this bitter pill when necessary, but only as a “last resort.” Hudson, supra, at 591. For exclusion to be appropriate, the deterrence benefits of suppression must outweigh its heavy costs. See Herring, supra, at 141; Leon, supra, at 910.
Admittedly, there was a time when our exclusionary-rule cases were not nearly so discriminating in their approach to the doctrine. “Expansive dicta” in several decisions, see Hudson, supra, at 591, suggested that the rule was a self-executing mandate implicit in the Fourth Amendment itself. See Olmstead v. United States, 277 U. S. 438, 462 (1928) (remarking on the “striking outcome of the Weeks case” that “the Fourth Amendment, although not referring to or limiting the use of evidence in courts, really forbade its introduction”); Mapp, supra, at 655 ("[A]ll evidence obtained by searches and seizures in violation of the Constitution is, by *238that same authority, inadmissible in a state court”). As late as our 1971 decision in Whiteley v. Warden, Wyo. State Penitentiary, 401 U. S. 560, 568-569, the Court “treated identification of a Fourth Amendment violation as synonymous with application of the exclusionary rule.” Arizona v. Evans, 514 U. S. 1, 13 (1995). In time, however, we came to acknowledge the exclusionary rule for what it undoubtedly is— a “judicially created remedy” of this Court’s own making. Calandra, supra, at 348. We abandoned the old, “reflexive” application of the doctrine, and imposed a more rigorous weighing of its costs and deterrence benefits. Evans, supra, at 13; see, e. g., Calandra, supra; Janis, supra; Stone, supra; INS v. Lopez-Mendoza, 468 U. S. 1032 (1984); United States v. Havens, 446 U. S. 620 (1980). In a line of cases beginning with Leon, 468 U. S. 897, we also recalibrated our cost-benefit analysis in exclusion cases to focus the inquiry on the “flagrancy of the police misconduct” at issue. Id., at 909, 911.
The basic insight of the Leon line of cases is that the deterrence benefits of exclusion “var[y] with the culpability of the law enforcement conduct” at issue. Herring, 555 U. S., at 143. When the police exhibit “deliberate,” “reckless,” or “grossly negligent” disregard for Fourth Amendment rights, the deterrent value of exclusion is strong and tends to outweigh the resulting costs. Id., at 144. But when the police act with an objectively “reasonable good-faith belief” that their conduct is lawful, Leon, supra, at 909 (internal quotation marks omitted), or when their conduct involves only simple, “isolated” negligence, Herring, supra, at 137, the “'deterrence rationale loses much of its force,”’ and exclusion cannot “pay its way,” Leon, supra, at 919, 908, n. 6 (quoting United States v. Peltier, 422 U. S. 531, 539 (1975)).
The Court has over time applied this “good-faith” exception across a range of cases. Leon itself, for example, held that the exclusionary rule does not apply when the police conduct a search in “objectively reasonable reliance” on a *239warrant later held invalid. 468 U. S., at 922. The error in such a case rests with the issuing magistrate, not the police officer, and “punish[ing] the errors of judges” is not the office of the exclusionary rule. Id., at 916; see also Massachusetts v. Sheppard, 468 U. S. 981, 990 (1984) (companion case declining to apply exclusionary rule where warrant held invalid as a result of judge’s clerical error).
Other good-faith eases have sounded a similar theme. Illinois v. Krull, 480 U. S. 340 (1987), extended the good-faith exception to searches conducted in reasonable reliance on subsequently invalidated statutes. Id., at 349-350 (“legislators, like judicial officers, are not the focus of the rule”). In Evans, supra, the Court applied the good-faith exception in a case where the police reasonably relied on erroneous information concerning an arrest warrant in a database maintained by judicial employees. Id., at 14. Most recently, in Herring, supra, we extended Evans in a case where police employees erred in maintaining records in a warrant database. “[IJsolated,” “nonrecurring” police negligence, we determined, lacks the culpability required to justify the harsh sanction of exclusion. 555 U. S., at 137, 144.
1 — I I — i ) — I
The question in this ease is whether to apply the exclusionary rule when the police conduct a search in objectively reasonable reliance on binding judicial precedent. At the time of the search at issue here, we had not yet decided Gant, 556 U. S. 332, and the Eleventh Circuit had interpreted our decision in Belton, 453 U. S. 454, to establish a bright-line rule authorizing the search of a vehicle’s passenger compartment incident to a recent occupant’s arrest. Gonzalez, 71 F. 3d, at 825. The search incident to Davis’ arrest in this case followed the Eleventh Circuit’s Gonzalez precedent to the letter. Although the search turned out to be unconstitutional under Gant, all agree that the officers’ conduct was in strict compliance with then-binding Circuit law and was not *240culpable in any way. See Brief for Petitioner 49 (“suppression” in this case would “impl[y] no assignment of blame”).
Under our exclusionary-rule precedents, this acknowledged absence of police culpability dooms Davis’ claim. Police practices trigger the harsh sanction of exclusion only when they are deliberate enough to yield “meaningful 1]” deterrence, and culpable enough to be “worth the price paid by the justice system.” Herring, 555 U. S., at 144. The conduct of the officers here was neither of these things. The officers who conducted the search did not violate Davis’ Fourth Amendment rights deliberately, recklessly, or with gross negligence. See ibid. Nor does this case involve any “recurring or systemic negligence” on the part of law enforcement. Ibid. The police acted in strict compliance with binding precedent, and their behavior was not wrongful. Unless the exclusionary rule is to become a strict-liability regime, it can have no application in this case.
Indeed, in 27 years of practice under Leon’s good-faith exception, we have “never applied” the exclusionary rule to suppress evidence obtained as a result of noneulpable, innocent police conduct. Herring, supra, at 144. If the police in this case had reasonably relied on a warrant in conducting their search, see Leon, supra, or on an erroneous warrant record in a government database, Herring, supra, the exclusionary rule would not apply. And if Congress or the Alabama Legislature had enacted a statute codifying the precise holding of the Eleventh Circuit’s decision in Gonzalez,4, we *241would swiftly conclude that “ ‘[penalizing the officer for the [legislature’s] error . . . cannot logically contribute to the deterrence of Fourth Amendment violations.’” Krull, 480 U. S., at 350. The same should be true of Davis’ attempt here to “ ‘[p]enaliz[e] the officer for the [appellate judges’] error.’” Ibid.
About all that exclusion would deter in this case is conscientious police work. Responsible law enforcement officers will take care to learn “what is required of them” under Fourth Amendment precedent and will conform their conduct to these rules. Hudson, 547 U. S., at 599. But by the same token, when binding appellate precedent specifically authorizes a particular police practice, well-trained officers will and should use that tool to fulfill their crime-detection and public-safety responsibilities. An officer who conducts a search in reliance on binding appellate precedent does no more than ‘“ac[t] as a reasonable officer would and should act’ ” under the circumstances. Leon, 468 U. S., at 920 (quoting Stone, 428 U. S., at 539-540 (White, J., dissenting)). The deterrent effect of exclusion in such a case can only be to discourage the officer from ‘“do[ing] his duty.’” 468 U. S., at 920.
That is not the kind of deterrence the exclusionary rule seeks to foster. We have stated before, and we reaffirm today, that the harsh sanction of exclusion “should not be applied to deter objectively reasonable law enforcement activity.” Id., at 919. Evidence obtained during a search conducted in reasonable reliance on binding precedent is not subject to the exclusionary rule.
IV
Justice Breyer’s dissent and Davis argue that, although the police conduct in this case was in no way culpable, other considerations should prevent the good-faith exception from applying. We are not persuaded.
*242A
1
The principal argument of both the dissent and Davis is that the exclusionary rule’s availability to enforce new Fourth Amendment precedent is a retroactivity issue, see Griffith v. Kentucky, 479 U. S. 314 (1987), not a good-faith issue. They contend that applying the good-faith exception where police have relied on overruled precedent effectively revives the discarded retroactivity regime of Linkletter v. Walker, 381 U. S. 618 (1965). See post, at 254-256.
In Linkletter, we held that the retroactive effect of a new constitutional rule of criminal procedure should be determined on a case-by-case weighing of interests. For each new rule, Linkletter required courts to consider a three-faetor balancing test that looked to the “purpose” of the new rule, “reliance” on the old rule by law enforcement and others, and the effect retroactivity would have “on the administration of justice.” 381 U. S., at 636. After “weighting] the merits and demerits in each case,” courts decided whether and to what extent a new rule should be given retroactive effect. Id., at 629. In Linkletter itself, the balance of interests prompted this Court to conclude that Mapp v. Ohio, 367 U. S. 643—which incorporated the exclusionary rule against the States — should not apply retroactively to cases already final on direct review. 381 U. S., at 639-640. The next year, we extended Linkletter to retroactivity determinations in eases on direct review. See Johnson v. New Jersey, 384 U. S. 719, 733 (1966) (holding that Miranda v. Arizona, 384 U. S. 436 (1966), and Escobedo v. Illinois, 378 U. S. 478 (1964), applied retroactively only to trials commenced after the decisions were released).
Over time, Linkletter proved difficult to apply in a consistent, coherent way. Individual applications of the standard “produced strikingly divergent results,” Danforth v. Minnesota, 552 U. S. 264, 273 (2008), that many saw as “incompatible” and “inconsistent,” Desist v. United States, 394 U. S. 244, 258 (1969) (Harlan, J., dissenting). Justice Harlan in particu*243lar, who had endorsed the Linkletter standard early on, offered a strong critique in which he argued that “basic judicial” norms required full retroactive application of new rules to all eases still subject to direct review. 394 U. S., at 258-259.; see also Mackey v. United States, 401 U. S. 667, 675-702 (1971) (Harlan, J., concurring in part and dissenting in part). Eventually, and after more than 20 years of toil under Link-letter, the Court adopted Justice Harlan’s view and held that newly announced rules of constitutional criminal procedure must apply “retroactively to all cases, state or federal, pending on direct review or not yet final, with no exception.” Griffith, supra, at 328.
2
The dissent and Davis argue that applying the good-faith exception in this case is “incompatible” with our retroactivity precedent under Griffith. See post, at 254; Reply Brief for Petitioner 3-7. We think this argument conflates what are two distinct doctrines.
Our retroactivity jurisprudence is concerned with whether, as a categorical matter, a new rule is available on direct review as a potential ground for relief. Retroactive application under Griffith lifts what would otherwise be a categorical bar to obtaining redress for the government's violation of a newly announced constitutional rule. See Dan-forth, supra, at 271, n. 5 (noting that it may “make more sense to speak in terms of the ‘redressability’ of violations of new rules, rather than the ‘retroactivity’ of such new rules”). Retroactive application does not, however, determine what “appropriate remedy” (if any) the defendant should obtain. See Powell v. Nevada, 511 U. S. 79, 84 (1994) (noting that it “does not necessarily follow” from retroactive application of a new rule that the defendant will “gain . . . relief”). Remedy is a separate, analytically distinct issue. Cf. American Trucking Assns., Inc. v. Smith, 496 U. S. 167, 189 (1990) (plurality opinion) (“[T]he Court has never equated its retroac-tivity principles with remedial principles”). As a result, the retroactive application of a new rule of substantive Fourth *244Amendment law raises the question whether a suppression remedy applies; it does not answer that question. See Leon, 468 U. S., at 906 (‘Whether the exclusionary sanction is appropriately imposed in a particular case ... is ‘an issue separate from the question whether the Fourth Amendment rights of the party seeking to invoke the rule were violated by police conduct’ ”).
When this Court announced its decision in Gant, Davis’ conviction had not yet become final on direct review. Gant therefore applies retroactively to this case. Davis may invoke its newly announced rule of substantive Fourth Amendment law as a basis for seeking relief. See Griffith, supra, at 326, 328. The question, then, becomes one of remedy, and on that issue Davis seeks application of the exclusionary rule. But exclusion of evidence does not automatically follow from the fact that a Fourth Amendment violation occurred. See Evans, 514 U. S., at 13-14. The remedy is subject to exceptions and applies only where its “purpose is effectively advanced.” Krull, 480 U. S., at 347.
The dissent and Davis recognize that at least some of the established exceptions to the exclusionary rule limit its availability in cases involving new Fourth Amendment rules. Suppression would thus be inappropriate, the dissent and Davis acknowledge, if the inevitable-discovery exception were applicable in this case. See post, at 254; Reply Brief for Petitioner 22 (“Doctrines such as inevitable discovery, independent source, attenuated basis, [and] standing . . . sharply limit the impact of newly-announced rules”). The good-faith exception, however, is no less an established limit on the remedy of exclusion than is inevitable discovery. Its application here neither contravenes Griffith nor denies retroactive effect to Gant.5
*245It is true that, under the old retroactivity regime of Link-letter, the Court's decisions on the “retroactivity problem in the context of the exclusionary rule” did take into account whether “law enforcement officers reasonably believed in good faith” that their conduct was in compliance with governing law. Peltier, 422 U. S., at 535-537. As a matter of retroactivity analysis, that approach is no longer applicable. See Griffith, 479 U. S. 314. It does not follow, however, that reliance on binding precedent is irrelevant in applying the good-faith exception to the exclusionary rule. When this Court adopted the good-faith exception in Leon, the Court’s opinion explicitly relied on Peltier and imported its reasoning into the good-faith inquiry. See 468 U. S., at 918-919. That reasonable reliance by police was once a factor in our retroactivity cases does not make it any less relevant under our Leon line of eases.6
B
Davis also contends that applying the good-faith exception to searches conducted in reliance on binding precedent will stunt the development of Fourth Amendment *246law. With no possibility of suppression, criminal defendants will have no incentive, Davis maintains, to request that courts overrule precedent.7
1
This argument is difficult to reconcile with our modern understanding of the role of the exclusionary rule. We have never held that facilitating the overruling of precedent is a relevant consideration in an exclusionary-rule case. Rather, we have said time and again that the sole purpose of the exclusionary rule is to deter misconduct by law enforcement. See, e. g., Sheppard, 468 U. S., at 990 (“ 'adopted to deter unlawful searches by police’ ”); Evans, supra, at 14 (“historically designed as a means of deterring police misconduct”).
We have also repeatedly rejected efforts to expand the focus of the exclusionary rule beyond deterrence of culpable police conduct. In Leon, for example, we made clear that “the exclusionary rule is designed to deter police misconduct rather than to punish the errors of judges.” 468 U. S., at 916; see id., at 918 (“If exclusion of evidence obtained pursuant to a subsequently invalidated warrant is to have any deterrent effect... it must alter the behavior of individual law enforcement officers or the policies of their departments”). Krull too noted that “legislators, like judicial officers, are not the focus” of the exclusionary.rule. 480 U. S., at 850. And in Evans, we said that the exclusionary rule was aimed at deterring “police misconduct, not mistakes by court employees.” 514 U. S., at 14. These cases do not suggest that the exclusionary rule should be modified to serve a purpose other than deterrence of culpable law enforcement conduct.
*2472
And in any event, applying the good-faith exception in this context will not prevent judicial reconsideration of prior Fourth Amendment precedents. In most instances, as in this case, the precedent sought to be challenged will be a decision of a federal court of appeals or state supreme court. But a good-faith exception for objectively reasonable reliance on binding precedent will not prevent review and correction of such decisions. This Court reviews criminal convictions from 12 Federal Courts of Appeals, 50 state courts of last resort, and the District of Columbia Court of Appeals. If one or even many of these courts uphold a particular type of search or seizure, defendants in jurisdictions in which the question remains open will still have an undiminished incentive to litigate the issue. This Court can then grant certio-rari, and the development of Fourth Amendment law will in no way be stunted.8
Davis argues that Fourth Amendment precedents of this Court will be effectively insulated from challenge under a good-faith exception for reliance on appellate precedent. But this argumentas overblown. For one thing, it is important to keep in mind that this argument applies to an exceedingly small set of cases. Decisions overruling this Court's Fourth Amendment precedents are rare. Indeed, it has been more than 40 years since the Court last handed down a decision of the type to which Davis refers. Chimel v. California, 395 U. S. 752 (overruling United States v. Rabinowitz, 339 U. S. 56 (1950), and Harris v. United States, 331 U. S. 145 (1947)). And even in those cases, Davis points out that *248no fewer than eight separate doctrines may preclude a defendant who successfully challenges an existing precedent from getting any relief. Brief for Petitioner 50. Moreover, as a practical matter, defense counsel in many cases will test this Cuurt’s Fourth Amendment precedents in the same way that Belton was tested in Gant — by arguing that the precedent is distinguishable. See Brief for Respondent in Arizona v. Gant, O. T. 2008, No. 07-542, pp. 22-29.9
At most, Davis’ argument might suggest that — to prevent Fourth Amendment law from becoming ossified — the petitioner in a case that results in the overruling of one of this Court’s Fourth Amendment precedents should be given the benefit of the victory by permitting the suppression of evidence in that one case. Such a result would undoubtedly be a windfall to this one random litigant. But the exclusionary rule is “not a personal constitutional right.” Stone, 428 U. S., at 486. It is a “judicially created” sanction, Calandra, 414 TI. ñ., at 848, specifically designed as a “windfall” remedy to deter future Fourth Amendment violations. See Stone, supra, at 490. The good-faith exception is a judicially created exception to this judicially created rule. Therefore, in a future case, we could, if necessary, recognize a limited exception to the good-faith exception for a defendant who obtains a judgment overruling one of our Fourth Amendment precedents. Cf. Friendly, The Bill of Rights as a Code of Criminal Procedure, 53 Cal. L. Rev. 929, 952-953 (1965) (“[T]he same authority that empowered the Court to supplement the amendment by the exclusionary rule a hundred and twenty-five years after its adoption, likewise allows it to *249modify that rule as the lessons of experience may teach” (internal quotation marks and footnotes omitted)).10
But this is not such a case. Davis did not secure a decision overturning a Supreme Court precedent; the police in his case reasonably relied on binding Circuit precedent. See Gonzalez, 71 F. 3d 819. That sort of blameless police conduct, we hold, comes within the good-faith exception and is not properly subject to the exclusionary rule.
* * *
It is one thing for the criminal “to go free because the constable has blundered.” People v. Before, 242 N. Y. 13, 21, 150 N. E. 585, 587 (1926) (Cardozo, J.). It is quite another to set the criminal free because the constable has scrupulously adhered to governing law. Excluding evidence in such cases deters no police misconduct and imposes substantial social costs. We therefore hold that when the police conduct a search in objectively reasonable reliance on binding appellate *250precedent, the exclusionary rule does not apply. The judgment of the Court of Appeals for the Eleventh Circuit is

Affirmed.


 See, e. g., United States v. Sanders, 631 F. 2d 1309, 1313-1314 (CA8 1980); United States v. Dixon, 558 F. 2d 919, 922 (CA9 1977); United States v. Frick, 490 F. 2d 666, 668-669 (CA5 1973); Hinkel v. Anchorage, 618 P. 2d 1069, 1069-1071 (Alaska 1980).


 See, e. g., United States v. Benson, 631 F. 2d 1336, 1340 (CA8 1980); see also United States v. Rigales, 630 F. 2d 364, 366-367 (CA5 1980); Ulesky v. State, 379 So. 2d 121, 125-126 (Fla. App. 1979).


 See, e. g., United States v. Dorsey, 418 F. 3d 1038, 1041, 1043-1044 (CA9 2005) (upholding automobile search conducted after the officer had “hand cuffed [tho arrcotcc] and put him in the back of [the] patrol car”); United States v. Barnes, 374 F. 3d 601, 604 (CA8 2004) (same).


 Cf. Kan. Stat. Ann. § 22-2501(c) (2007) (“When a lawful arrest is ef-fécted a law enforcement officer may reasonably search the person arrested and the area within such person’s immediate presence for the purpose of . . . [discovering the fruits, instrumentalities, or evidence of a crime”). The Kansas Supreme Court recently struck this provision down in light of Arizona v. Gant, 556 U. S. 332 (2009). State v. Henning, 289 Kan. 136, 137, 209 P. 3d 711, 714 (2009). But it has applied Illinois v. Krull, 480 U. S. 340 (1987), and the good-faith exception to searches conducted in reasonable reliance on the statute. See State v. Daniel, 291 Kan. 490, 497-504, 242 P. 3d 1186, 1191-1195 (2010).


 The dissent argues that the good-faith exception is “unlike ... inevitable discovery” because the former applies in all cases where the police reasonably rely on binding precedent, while the latter “applies only upon occasion.” Post, at 254. We fail to see how this distinction makes any dif-*245forcncc. Tho same could bo said indoed, tho oame wao oaid ■ of searches conducted in reasonable reliance on statutes. See Krull, 480 U. S., at 368-369 (O'Connor, J., dissenting) (arguing that result in Krull was inconsistent with Griffith). When this Court strikes down a statute on Fourth Amendment grounds, the good-faith exception may prevent the exclusion ary rulo from applying “in every case pending when [the statute] is over turned.” Post, at 254. This result does not make the Court’s newly announced rule of Fourth Amendment law any less retroactive. It simply limits the applicability of a suppression remedy. See Krull, supra, at 354-355, n. 11.


 Nor does United States v. Johnson, 457 U. S. 537 (1982), foreclose application of the good faith exception in eases involving changing law. John son distinguished Peltier and held that all Fourth Amendment cases should be retroactivo on direct review so long as tho new decision is not a “clear break” from prior precedent. 457 U. S., at 562. Johnson had no occasion to opino on tho good faith exception to the exclusionary rule, which we adopted two years later in Leon.


 Davis also asserts that a good faith rule would permit “new Fourth Amendment dccioiono to be applied only prospoctivoly,” thus amounting to “a regime of rule-ereation by advisory opinion.” Brief for Petitioner 23, 25. For reasons discussed in connection with Davis’ argument that application of tho good faith exception hero would revive tho Linkletter regime, this argument eonflatoa tho quoetion of retroactivity with tho question of remedy.


 Tho diooent docs not dispute this point, but it claims that the good faith exception will prevent us from “retyping] upon lower courts to work out Fourth Amendment differences among themselves.” Post, at 256. If that is correct, then today’c holding may well lead to moro oirouit oplito in Fourth Amendment eaccs and a fullov docket of Fourth Amendment caceo in this Court. See this Court’s Rule 10. Such a state of affairs is unlikely to result in ossification of Fourth Amendment doctrine.


 Where the search at issue is conducted in accordance with a municipal “policy” or “custom,” Fourth Amendment precedents may also be challenged, without the obotaclc of the good-faith exception or qualified immunity, in civil suits against municipalities. See 42 U. S. C. § 1988; Los Angeles County v. Humphries, 562 U. S. 29, 36 (2010) (citing Monell v. New York City Dept. of Social Servs., 436 U. S. 658, 690-691 (1978)).


 Davis contends that a criminal defendant will lack Article III standing to challenge an existing Fourth Amendment precedent if the good-faith exception to the exclusionary rule precludes the defendant from obtaining relief based on police conduct that conformed to that precedent. This argument confuses weakness on the merits with absence of Article III standing. See ASARCO Inc. v. Radish, 490 U. S. 605, 624 (1989) (standing does not “ ‘depen[d] on the merits of [a claim]’ ”). And as a practical matter, the argument is also overstated. In many instances, as in Gant, see 556 U. S., at 841, defendants will not simply concede that the police conduct conformed to the precedent; they will argue instead that the police conduct did not fall within the scope of the precedent.
In any event, even if some criminal defendants will be unable to challenge some precedents for the reason that Davis suggests, that provides no good reason for refusing to apply the good-faith exception. As noted, the exclusionary rule is not a personal right, see Stone, 428 U. S., at 486, 490, and therefore the rights of these defendants will not be impaired. And because (at least in almost all instances) the precedent can be challenged by others, Fourth Amendment ease law will not be insulated from reconsideration.

